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                            UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                              :
                                                      :
          v.                                          :       Criminal Case No.
                                                      :
 KENNETH JOSEPH OWEN THOMAS,                              :    1:21-cr-00552-DLF
                                            :
                   Defendant                :
                                           :
___________________________________________

   MOTION FOR DISCLOSURE OF BRADY MATERIALS AND EMORANDUM OF
        LAW IN SUPPORT OF KENNETH JOSEPH OWEN THOMAS’S
                 MOTION FOR REQUIRED DISCLOSURE
            OF POTENTIALLY EXCULPATORY INFORMATION

       Defendant KENNETH JOSEPH OWEN THOMAS (“Thomas”), through the undersigned

counsel, John L. Pierce, Esq. and presents this Memorandum of Law in support of his motion for

this Court to enter an Order that the U.S. Government disclose to the Defendant promptly, the

following information necessary to the Defendant’s defense pursuant to pretrial discovery under

Rules 6(e)(3)(C) and 16(a)(1)(A) of the Federal Rules of Criminal Procedure, Rule 16 of the

same, Brady v. Maryland, 373 U.S. 83 (1963) and progeny, and Gray’s Due Process rights under

the U.S. Constitution. In support of his motion Thomas states as follows:


I. INTRODUCTION AND OVERVIEW

       The operative Second Superseding Indictment (“SSI”) in this case, filed on December

14, 2022, at Dkt. No. 49, contains no allegations of fact whatsoever. We must look if at all to the

Statement of Facts filed at Dkt. # 1-1.

       Disclosure of the documents, records, and information is constitutionally mandated under

Brady v. Maryland (1963) if at any stage of the proceedings – including locating witnesses – the




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information may be or lead to information that would cast any doubt on the alleged guilt of a

Defendant. This includes information necessary for cross-examining witnesses as well as

effective preparation to question witnesses. Constitutionally-mandated disclosure under Brady

includes any evidence establishing a defense to an apparent prima facie case against the

Defendant.

       But again, the important goals of Brady v. Maryland including locating witnesses

(including realizing that a person would have been in a location or position to be a witness) has

been fervently ignored by the U.S. Department of Justice (“DoJ”) in these January 6 prosecution

cases. The intensity with which the necessity of identifying witnesses, locating them,

interviewing them, and serving them with subpoenas is strenuously resisted is concerning.

       Yet the Court is urged not to fall in a ditch as too many others have: This is not about

predicting or deciding the ultimate facts. This is a demand “Let’s take a look and see.” The only

showing that the Defendant needs to make is the mere possibility that the demanded records and

information could affect the jury’s decision to one of the elements of a charged crime.

       This is not a motion to dismiss (not yet). The Defendant needs only to show that there is

a plausible possibility that the information demanded might change the result of the prosecution,

even as to only one element of even one crime charged, to be potentially exculpatory

information. It is not relevant at this stage whether the prosecution argues otherwise or the Court

believes one view or the other. All that is relevant is that there is a plausible scenario under

which the demanded documents, records, and information could be exculpatory or could lead to

evidence of Defendant’s innocence. Once the Defendant makes that showing, no response or

disagreement is in order. We then actually read the documents – and stop guessing.

       The Court is most definitely not being asked to jump to the end of the trial and decide




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now at this stage what happened. All that is in order is to actually look at the documents and

records and see what they actually say.

       Finally, the Defendant categorically rejects explanations invented for trial. The demand

is for the contemporaneous, real-time, as-it-happened records of the decision-making and the

threat assessments developing throughout the morning and early afternoon of January 6, 2021,

leading to a decision at or earlier than 1:00 PM to recess the Joint Session of Congress and

evacuate the U.S. Capitol.

       That decision having been made by or earlier than 1:00 PM, it would be a scientific

impossibility for Defendant Thomas to have obstructed an official proceeding by arriving at the

Capitol at around 3:00 PM.

       Opinions of Government officials prepared for trial are unavailing. After-the-fact

conclusions are not relevant. We know for a fact that the USCP decided to recess the official

proceeding and evacuate the building. We have not seen any official documentation of why.

       We need not guess. We need only read the documents. No speculating.

       Again, it is not the task of the Defendant in this motion to establish what actually

happened, nor is it in order for the prosecutors or the Court to try to find ways of escaping the

mandates of Brady. It is irrelevant whether an actual look at the documents might show

something unexpected.

       It is only relevant that there is a reasonable chance that actually reading the documents

might reveal exculpatory information. The Government’s response is not (will not be) in order.

The Court’s pre-judgment about what actually happened on January 6, 2021, will not be in order.

       What is before the Court is compelling production of documents that will actually tell us

what happened, as it was happening, instead of speculation.




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        However, we also observe that through multiple trials relating to January 6, 2021, the

Government has not used any such records or documents or information about the decision-

making of the USCP to recess the Joint Session of Congress. It is not that there is inculpatory

information. If there were, the Government would be using it against various Defendants.

Instead, the USCP and DoJ have furiously and fervently resisted telling the Courts the actual

truth of what actually happened, in real time. See Exhibits 2 and 3, in which the USCP was

ordered to produce this information and these records in December 2021. The USCP has defied

those orders and refused to comply.


II. OVERVIEW AND FACTS PERTINENT TO THE MOTION

        Factually, Defendant KENNETH JOSEPH OWEN THOMAS (“Thomas”) is accused of

        a. Arriving at the West Terrace of the U.S. Capitol building at approximately 3:00 PM

           on or about January 6, 2021.

        b. Departing the U.S. Capitol grounds at approximately 4:40 PM on January 6, 2021.

        c. Approaching the West Terrace of the U.S. Capitol buildings in a random,

           uncoordinated, pathway unrelated to anyone else in response to the cries and signs of

           injured people in distress, displaying no plans to move in formation toward any

           objective.

        d. Departing the U.S. Capitol building in a conspicuously uncoordinated, random

           pathway disconnected from anyone else.

         From these factual allegations, Thomas is accused and being prosecuted, inter alia,

under

            a. Count One, 18 U.S.C. § 231(a)(3) -- Obstructing, impeding, or interfering
               with any law enforcement officer lawfully engaged in the lawful
               performance of his official duties incident to and during the commission
               of a civil disorder


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           b. Count Two, 18 U.S.C. § 1512(c)(2) -- Obstruction of an Official
              Proceeding and Aiding and Abetting

           c. Count Three, 18 US.C. 111(a)(1) Assaulting, Resisting, or Impeding
              Certain Officers,,

           d. Count Four, 18 US.C. 111(a)(1) Assaulting, Resisting, or Impeding
              Certain Officers,

           e. Count Five, 18 US.C. 111(a)(1) Assaulting, Resisting, or Impeding
              Certain Officers,

           f. Count Six, 18 US.C. 111(a)(1)) Assaulting, Resisting, or Impeding
              Certain Officers,

           g. Count Seven, 18 US.C. 111(a)(1) Assaulting, Resisting, or Impeding
              Certain Officers,

           h. Count Eight, 18 U.S.C. § 1752(a)(1)) -- Entering or Remaining in a
              Restricted Building or Grounds

           i. Count Nine, 18 U.S.C. § 1752(a)(2) – Disorderly and Disruptive Disruptive
              Conduct in a Restricted Building

           j. Count Ten, 18 U.S.C. § 1752(a)(4) – Engaging in Physical Violence in a
              Restricted Building or Grounds

           k. Count Eleven, Count Eleven, 40 U.S.C. § 5104(e)(2)(D) – Disorderly
              Conduct in a Capitol Building

           l. Count Twelve, 40 U.S.C. § 5104(e)(2)(F) – Act of Physical Violence in the
              Capitol Grounds or Buildings

       Assuming, arguendo, that the Government may offer the Statement of Facts in lieu of a

factually deficient indictment, that a “JOSEPH THOMAS” (alleged to be Kenneth Thomas)

known to the Government only by comparing one video against another, not from any personal

knowledge, is noticed in the evidence at the earliest at 3:09 PM and is observed, the document

claims, on body-worn (“bodycam”) videos until 3:20 PM, when he left an area of the “risers” as

the document describes.

       The Statement of Facts then includes extensive factual allegations of encounters from




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4:22 PM to 4:30 PM. However, the Government has not identified when it believes Thomas

departed the Capitol area entirely. However, the Government’s evidence of someone whom they

think is “Joseph Thomas” being near the U.S. Capitol apparently runs only up to about 4:40 PM

EST on January 6, 2021.

       However, the recess of the Joint Session of Congress on January 6, 2021, began at 2:13

PM when Speaker Nancy Pelosi’s security detail whisked her away from the Speaker’s dais and

she “tossed” (figuratively speaking) the presiding officer status to Rep. Jim McGovern (D. -

Mass.) During the prosecution case in chief of USA v. Stewart Rhodes, in this District Court,

Case No. 1:22-cr-00015, on October 19, 2022, the (then) U.S. House of Representatives

Parliamentarian Thomas Wickham testified that Speaker of the House Nancy Pelosi was whisked

away from the podium by security at 2:13 on January 6, 2021.

       According to the Congressional Record, Rep. McGovern then took over and recessed the

House at 2:18 PM. 1 This would be consistent with McGovern needing about 5 minutes to

unexpectedly take over, talk to the USCP and the Parliamentarian about what to do, and to then

invoke Rule I, Clause 12. The records reflect that the Congress reconvened a few minutes later,

and finally recessed on or before 2:29 PM.

       Nevertheless, the beginnings of the recess process were no later than 2:13 PM when the

U.S. Capitol Police moved Pelosi off the floor. The USCP’s after-action timeline reflects that

the USCP ordered a lock down of the U.S. Capitol at 2:00 PM, while the USCP union insists that



1
        The court may take judicial notice that the House was recessed by the presiding officer at
2:18 PM, pursuant to standing Rule I, Clause 12(b) (allowing for immediate recess without a
vote upon notice of a threat). Congressional Record House Articles | Congress.gov | Library
of Congress, Counting Electoral Votes--Joint Session Of The House And Senate Held Pursuant
To The Provisions Of Senate Concurrent Resolution 1; Congressional Record Vol. 167, No. 4
(House of Representatives - January 06, 2021)
https://www.congress.gov/congressional-record/2021/01/06/house-section/article/H76-4


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that took place at 1:00 PM.

       Then the House and the Senate very briefly reconvened but finally recessed at 2:29 PM.

The USCP actually evacuated the Capitol building at approximately 2:45 PM to 2:50 PM. 2

       That is, the decision to recess the official proceeding known as the Joint Session of

Congress was reached as early as 2:13 PM, based on causes that existed as early as 1:00 PM.

       However, Defendant Thomas was not at the Capitol at 1:00 PM nor even 2:13 PM.

       Thus, Count II of the crimes charged against Defendant Thomas under 18 U.S.C.

1512(c)(2) is scientifically and chronologically impossible. Like the majority of Defendants

charged relating to the events centered around the events of January 6, 2021 at the U.S. Capitol,

it would be a violation of the laws of time and the laws of the universe for Defendant Thomas to

have caused an effect at the U.S. Capitol before he arrived.

       This is not merely a question of factual evidence. Attorney Juli Haller argues in USA v.

Crowl, Case No. 1:21-cr-00028 that the crime was complete and closed when the decision was

made to recess the official proceeding. It is legally impossible for someone to participate in a

crime already completed at or before 2:13 PM, most likely at 1:00 PM. No one could participate

in a crime already legally completed. No one could aid or abet a crime already finished. Once

the recess of the Joint Session of Congress had occurred, and the recess and evacuation was

under way, the crime was concluded.

       The Government’s case under 18 U.S.C. 1512(c)(2) rests upon reversing the laws of

cause and effect, arguing that an effect happened in time before its cause.

       The U.S. Capitol Police (“USCP”) ordered a “lockdown” (as its after-action timeline




2
      Clearly, evacuation does not mean that the USCP left or that the building was empty of
demonstrators, but refers in this context to Members of Congress and their staff.


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describes it) at 1:00 PM. 3 Reading the various activities, it is abundantly clear that the

“lockdown” at 1:00 PM was due to the discovery of pipe bombs at the Republican National

Committee headquarters located across the intersection at the Capitol South Metro Station from

the Cannon House Office Building and about 2-3 very long blocks from the U.S. Capitol

building and about 1 long block from the Capitol grounds.

       At that time, the USCP could not reasonably know if more pipe bombs were hidden

around the Congressional buildings or the Capitol complex. One assumes that the documents

will reveal a preoccupation with determining if additional pipe bombs might be lurking threats

hidden around the area. This is why we need to see the documents, not speculate.

       By 1:15 PM, a second pipe bomb was found about 3 blocks farther South at the

headquarters of the Democrat National Committee.

       The USCP after-action timeline reports the lockdown ordered by (then) Deputy Chief

Pittman at 2:00 PM on January 6, 2021. However, the USCP union among sharp criticism of

Pittman and other USCP leadership objects that

            “Acting Chief Pittman stated that she ordered the lockdown. To be clear,
            it was actually Inspector Loyd who initially ordered the Capitol
            lockdown approximately 1 hour prior to Chief Pittman’s order. That was
            the only time that day I heard Acting Chief Pittman on the radio,” says
            Chairman Papathanasiou.”

https://s3.documentcloud.org/documents/23566784/492350885-read-u-s-capitol-police-

labor-committee-statement.pdf Recordings of radio communications among USCP confirms

this because USCP officers are heard laughing (perhaps out of anxiety or frustration) when




3
        Publicly released in redacted form by the U.S. Department of Justice (“DoJ”) in United
States v. Dan Gray, Criminal Case No. 1:21-cr-00495, as Exhibit 1 to the Government’s Opposi-
tion to Dan Gray’s Notice of Alternative Perpetrator Offense, filed as Dkt. # 63-1, which is also
marked as CAPD_000003203. That same Exhibit 1, as redacted, is attached here as Exhibit 1.


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Pittman ordered a lockdown of the Capitol. Inspector Loyd had already declared a lockdown

around 1:00 PM on January 6, 2021, and therefore the 2:00 PM order struck them as an hour late.

Again, this is a contemporaneous, real-time, as-it-was-happening radio call recording, not after-

the-fact reinterpretation or spin. It is supported by the fervent and frustrated declarations of the

USCP Labor Committee union.

       Unfortunately, the Government refuses to address the task at hand, that some people

committed violence, most did not; some people brawled with police, most did not; some people

obstructed an official proceeding, most did not. The task is to present admissible and reliable

evidence of who did and who didn’t. The Government’s unwillingness to accept that there was a

diversity of behavior and actions on January 6, 2021, not a monolithic hive mind of robotic

automatons is creating many very egregious reversible errors.


III. GOVERNING LAW WITH OVERALL ANALYSIS:

       Rule 16 of the Federal Rules of Criminal Procedure requires that:

                              ***
                    Rule 16. Discovery and Inspection

                    (d) Regulating Discovery. (1) Protective and Modifying
                    Orders. At any time the court may, for good cause, deny,
                    restrict, or defer discovery or inspection, or grant other
                    appropriate relief. The court may permit a party to show
                    good cause by a written statement that the court will
                    inspect ex parte. If relief is granted, the court must
                    preserve the entire text of the party’s statement under
                    seal. (2) Failure to Comply. If a party fails to comply with
                    this rule, the court may: (A) order that party to permit the
                    discovery or inspection; specify its time, place, and
                    manner; and prescribe other just terms and conditions;
                    (B) grant a continuance; (C) prohibit that party from
                    introducing the undisclosed evidence; or (D) enter any
                    other order that is just under the circumstances.

       Local Rule 5.1 “DISCLOSURE OF INFORMATION” prescribes that:



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  (a) Unless the parties otherwise agree and where not prohibited by law, the
  government shall disclose to the defense all information “favorable to an
  accused” that is “material either to guilt or to punishment” under Brady v.
  Maryland, 373 U.S. 83, 87 (1963), and that is known to the government. This
  requirement applies regardless of whether the information would itself
  constitute admissible evidence. The information, furthermore, shall be
  produced in a reasonably usable form unless that is impracticable; in such a
  circumstance, it shall be made available to the defense for inspection and
  copying. Beginning at the defendant’s arraignment and continuing throughout
  the criminal proceeding, the government shall make good-faith efforts to
  disclose such information to the defense as soon as reasonably possible after
  its existence is known, so as to enable the defense to make effective use of
  the disclosed information in the preparation of its case.

  (b) The information to be disclosed under (a) includes, but is not limited to:
  (1) Information that is inconsistent with or tends to negate the defendant’s
  guilt as to any element, including identification, of the offense(s) with which
  the defendant is charged; (2) Information that tends to mitigate the charged
  offense(s) or reduce the potential penalty; (3) Information that tends to
  establish an articulated and legally cognizable defense theory or recognized
  affirmative defense to the offense(s) with which the defendant is charged; (4)
  Information that casts doubt on the credibility or accuracy of any evidence,
  including witness testimony, the government anticipates using in its case-in-
  chief at trial; and 132 (5) Impeachment information, which includes but is not
  limited to: (i) information regarding whether any promise, reward, or
  inducement has been given by the government to any witness it anticipates
  calling in its case-in-chief; and (ii) information that identifies all pending
  criminal cases against, and all criminal convictions of, any such witness.

  (c) As impeachment information described in (b)(5) and witness-credibility
  information described in (b)(4) are dependent on which witnesses the
  government intends to call at trial, this rule does not require the government
  to disclose such information before a trial date is set.

  (d) In the event the government believes that a disclosure under this rule
  would compromise witness safety, victim rights, national security, a sensitive
  law-enforcement technique, or any other substantial government interest, it
  may apply to the Court for a modification of the requirements of this rule,
  which may include in camera review and/or withholding or subjecting to a
  protective order all or part of the information.

  (e) For purposes of this rule, the government includes federal, state, and local
  law enforcement officers and other government officials who have
  participated in the investigation and prosecution of the offense(s) with which
  the defendant is charged. The government has an obligation to seek from
  these sources all information subject to disclosure under this Rule.



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            (f) The Court may set specific timelines for disclosure of any information
            encompassed by this rule.

            (g) If the government fails to comply with this rule, the Court, in addition to
            ordering production of the information, may: (1) specify the terms and
            conditions of such production; (2) grant a continuance; (3) impose
            evidentiary sanctions; or (4) enter any other order that is just under the
            circumstances.

        Brady information must be disclosed on a rolling basis as available—“the duty to

disclose is ongoing.” Pennsylvania v. Ritchie, 480 U.S. 39, 60 (1987). See United States v.

Celis, 608 F.3d 818, 835–36 (D.C. Cir. 2010). Giglio obligations are also ongoing. Should the

Government request it, the Court will enter a protective order precluding counsel from sharing

Giglio information with their clients.

        “[S]uppression by the prosecution of evidence favorable to a Defendant upon request

violates due process where the evidence is material to either guilt or punishment, irrespective of

the good faith or bad faith of the prosecution.” Sitzmann, 74 F.Supp.3d at 134 (quoting Brady v.

Maryland, 373 U.S. 83, 87 (1963)).

        With Brady, constructive knowledge matters. In Youngblood v. West Virginia, 547 U.S. 867

(2006) the Supreme Court made it clear that “a Brady violation occurs when the government fails to

disclose evidence materially favorable to the accused. This Court has held that the Brady duty to

disclose extends to impeachment evidence as well as exculpatory evidence, and Brady suppression

occurs when the government fails to turn over even evidence that is ‘known only to police

investigator and not to the prosecutor.’ ‘Such evidence is material if “there is a reasonable possibility

that had the evidence been disclosed to the defense, the result of the proceeding would have been

different”,’ although a ‘showing of materiality does not require demonstration by a preponderance of

the evidence that disclosure of the suppressed evidence would have resulted ultimately in the

defendant’s acquittal.’ The reversal of a conviction is required upon a ‘showing that the favorable



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evidence could reasonably be taken to put the whole case in such a different light as to undermine

confidence in the verdict.’”

        The scope of the requirements of Brady v. Maryland, 373 U.S. 83 (1963), is very broad.

See United States Justice Manual (USJMM) § 9-5.001. For instance, a “prosecutor must disclose

information that is inconsistent with any element of any crime charged” and --

                    “… must disclose information that either casts a
                    substantial doubt upon the accuracy of any evidence---
                    including but not limited to witness testimony—the
                    prosecutor intends to rely on to prove an element of any
                    crime charged, or might have a significant bearing on the
                    admissibility of the evidence. This information must be
                    disclosed regardless of whether it is likely to make the
                    difference between convictions and acquittal of the
                    defendant for a charged crime.”

Id.

        The disclosure requirement, “applies to information regardless of whether the

information subject to disclosure would itself constitute admissible evidence.” Id.

        The Defendant is entitled to the documents and the evidence, to the extent potentially or

here likely to be exculpatory information as required by Brady v. Maryland, 373 U.S. 83 (1963) ;

See also, USA v Theodore F. Stevens, No. 1:08-CR-00231-EGS, U.S. District Court for the

District of Columbia, Memorandum and Opinion by Judge Emmett Sullivan, (Docket No. 257,

December 22, 2008); United States v. Sitzmann, 74 F.Supp.3d 128, 133 (D.D.C. 2014)

        If an appeal court determines the suppressed evidence is material, that there is a

reasonable likelihood the evidence could have impacted the jury’s judgment, then a new trial is

required. United States v. Sitzmann, 74 F.Supp.3d 128, 133-134 (D.D.C. 2014).

        However, the Defendant must raise at least a colorable claim that the material contains

evidence “favorable to him and material to his claim of innocence.” Id. Prejudice to the

Defendant means a “reasonable probability that had the evidence been disclosed to the defense,


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the result of the proceeding would have been different.” Id. at 134 (citing Strickler v. Greene,

527 U.S. 263, 280 (1999)).

        Even apart from a Rule 29 motion to dismiss at trial, an actual conviction after trial can

be overturned on appeal for violation of Brady if evidence favorable to the accused for

exculpatory or impeachment purposes was suppressed by the government which prejudiced the

accused. Id. Favorability to the accused means exculpatory or impeachment value. Id.

Suppression by the government can be an intentional or inadvertent failure to disclose the

evidence. Id. at 137.

        And courts in in this jurisdiction disfavor narrow readings by prosecutors as to their

obligations under Brady. United States v. Saffarinia, 424 F.Supp.3d 46, 57 (D.D.C.), supported

by United States v. Paxson, 861 F.2d 730, 737 (D.C. Cir. 1988).

        When the Defendant requests Brady materials

               “The government cannot meet its Brady obligations by providing
               the defendant with access to 600,000 documents and then
               claiming that the defendant should have been able to find the
               exculpatory information in the haystack.”

Saffarinia, 424 F.Supp.3d at 85.

        Under Brady, evidence may still be material and favorable despite being inadmissible,

provided it could lead to admissible evidence. Saffarinia, 424 F.Supp.3d at 91.

        It is highly relevant that the Defendant is explicitly asking for specific information, not

passively hoping that the prosecution will notice and think to disclose information on its own

initiative.

               "The test of materiality in a case like Brady in which specific
               information has been requested by the defense is not necessarily the
               same as in a case in which no such request has been made...." 14

United States v. Agurs, 427 U.S. 97, 106, 49 L.Ed.2d 342, 96 S.Ct. 2392 (1976)



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               “ The heart of the holding in Brady is the prosecution's suppression of
               evidence, in the face of a defense production request, where the
               evidence is favorable to the Defendant and is material either to guilt
               or to punishment. Important, then, are (a) suppression by the
               prosecution after a request by the defense, (b) the evidence's favorable
               character for the defense, and (c) the materiality of the evidence. * *
               *”

Moore v. Illinois, 8212 5001, 408 U.S. 786,794-795, 92 S.Ct. 2562, 33 L.Ed.2d 706 (1972)

               “If there is a duty to respond to a general request of that kind, it must
               derive from the obviously exculpatory character of certain evidence in
               the hands of the prosecutor. But if the evidence is so clearly
               supportive of a claim of innocence that it gives the prosecution notice
               of a duty to produce, that duty should equally arise even if no request
               is made. Whether we focus on the desirability of a precise definition
               of the prosecutor's duty or on the potential harm to the defendant, we
               conclude that there is no significant difference between cases in
               which there has been merely a general request for exculpatory matter
               and cases, like the one we must now decide, in which there has been
               no request at all. The third situation in which the Brady rule arguably
               applies, typified by this case, therefore embraces the case in which
               only a general request for "Brady material" has been made.”

United States v. Agurs, 427 U.S. 97, 107, 49 L.Ed.2d 342, 96 S.Ct. 2392 (1976).

               “The proper standard of materiality must reflect our overriding
               concern with the justice of the finding of guilt.20 Such a finding is
               permissible only if supported by evidence establishing guilt beyond a
               reasonable doubt. It necessarily follows that if the omitted evidence
               creates a reasonable doubt that did not otherwise exist, constitutional
               error has been committed.”

Id. at 112. To extend this point, the U.S. Supreme Court is saying that the requirement that a

Defendant be presumed innocent until proven guilty beyond a reasonable doubt is a principle that

applies to all aspects of the case, including whether a failure to disclose potentially exculpatory

information violates the Due Process Clause.

               “Impeachment evidence, however, as well as exculpatory evidence,
               falls within the Brady rule. See Giglio v. United States, 405 U.S. 150,
               154, 92 S.Ct. 763, 766, 31 L.Ed.2d 104 (1972). Such evidence is
               "evidence favorable to an Defendant," Brady, 373 U.S., at 87, 83



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               S.Ct., at 1196, so that, if disclosed and used effectively, it may make
               the difference between conviction and acquittal. Cf. Napue v. Illinois,
               360 U.S. 264, 269, 79 S.Ct. 1173 1177, 3 L.Ed.2d 1217 (1959) ("The
               jury's estimate of the truthfulness and reliability of a given witness
               may well be determinative of guilt or innocence, and it is upon such
               subtle factors as the possible interest of the witness in testifying
               falsely that a defendant's life or liberty may depend").”

United States v. Bagley, 473 U.S. 667, 87 L.Ed.2d 481, 105 S.Ct. 3375 (1985).

       Determining usefulness can only be made by an advocate for the defense. Id. at 875. The

trial judge’s function is limited to determining if a case for production has been successful and

supervising the process. Id.

      Closely associated with the federal rule are several U.S. Supreme Court decisions which

hold that a defendant has a right to the testimony of witnesses. See, United States v. Dennis, 384

U.S. 855 (1966); United States v. Proctor & Gamble, 356 U.S. 677 (1958).

                    “Witnesses, particularly eye witnesses, to a crime are the
                    property of neither the prosecution nor the defense. Both
                    sides have an equal right, and should have an equal
                    opportunity, to interview them.”

Gregory v. United States 369 F.2d 185, 188 (D.C. Cir. 1966). See also, Model Code Of Prof'l
Responsibility Rule 3.8(d).

       In Hunter v. District of Columbia , 47 App. D.C. 406 (D.C. Cir. 1918), for example, the

D.C. Circuit Court examined an indictment that alleged that the defendants had

            "congregate[d] and assemble[d] on Pennsylvania avenue, N.W., [and]
            did then and there crowd, obstruct, and incommode the free use of the
            sidewalk thereof on said avenue" in violation of the unlawful assembly
            statute. Id. at 408. Beyond the general terms of acts prohibited by the
            statute, there was no averment of fact "to inform defendants of the nature
            of the acts which [were] relied upon by the prosecution as constituting
            alleged obstruction of the sidewalk, or that would enable defendants to
            make an intelligent defense, much less to advise the court of the
            sufficiency of the charge in law to support a conviction." Id. at 410. And
            the fact that the charging document "fail[ed] to set out the acts
            committed by the defendants which constituted the crowding bstructing
            of the free use of the walk by them[,]" Id. at 409, was a fatal flaw.



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        As stated by the Hunter Court:

            [i]t is elementary that an information or indictment must set out the facts
            constituting the offense, with sufficient clearness to apprise the
            defendant of the charge he is expected to meet, and to inform the court of
            their sufficiency to sustain the conviction. ... In other words, when the
            accused is led to the bar of justice, the information or indictment must
            contain the elements of the offense with which he is charged, with
            sufficient clearness to fully advise him of the exact crime which he is
            alleged to have committed.

Id. at 409, 410 (emphasis added) (internal quotation marks and citation omitted).

        The Hunter Court also observed that the defendants in that case could have engaged in a

number of acts that fell outside the scope of the statute, and thus, by failing to specify the

defendants' particular conduct, the indictment was "too vague, general, and uncertain to meet the

requirements of the established rules of criminal pleading," which in turn rendered it

"insufficient in law." Id. at 410.

        Furthermore, here in this case, the Government has spread the false implication, like an

inkblot test, that the U.S. Capitol and its grounds are presumptively restricted areas. But as

Federal courts in this District have reasoned in reaching legal conclusions:

            The Capitol Grounds (excluding such places as the Senate and House
            floors, committee rooms, etc.) have traditionally been open to the
            public; indeed, thousands of people visit them each year. Thus, we
            cannot agree with the defendants that the Capitol Grounds have ever
            been characterized by the serenity and quiet of a hospital or library.

Jeannette Rankin Brigade v. Chief of Capitol Police, 342 F. Supp. 575 (D.D.C. 1972) (emphases

added).

            The courts in this jurisdiction have long recognized that "[t]he United
            States Capitol is a unique situs for demonstration activity" and "is a
            place traditionally open to the public thousands visit each year to
            which access cannot be denied broadly or absolutely, [a fact which
            must be weighed] against the government's interest in protecting against
            possible `damage to buildings and grounds, obstruction of passageways,



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            and even dangers to legislators and staff.'" Kroll v. United States, 590 F.
            Supp. 1282, 1289, 1290 (D.D.C.1983) (quoting Jeannette Rankin
            Brigade v. Chief of Capitol Police, 342 F. Supp. 575, 583-85 (D.D.C.),
            aff'd mem., 409 U.S. 972, 93 S. Ct. 311, 34 L. Ed. 2d 236 (1972)).

Wheelock v. United States 552 A.2d 503, 506 (D.C. 1988) (emphases added).

        Thus, the Government must not only provide notice of a temporary restriction but must

provide such notice in a legally effective way. To prosecute anyone under 18 U.S.C. 1752(a)(1),

which requires that a Defendant act “knowingly,” the Government must prove that the Defendant

acted “knowingly.” “Knowingly” is a required element that must be proven to establish guilt.

        Thus, where the U.S. Capitol Police Board attempted – but failed – to provide notice,

because it used flimsy paper signs approximately 11 inches by 14 inches, laminated by a thin

layer of plastic 4 zip-tied to movable bike racks that were knocked over, hiding the signs, the

transformation of a place normally open to the public into a restricted grounds or building has

failed to take place, legally. Even if it was the desire or plan to restrict a building or grounds, if

the USCP Board failed to do so effectively, the area was never restricted. The area was not

actually ever restricted because of the inadequacy of notice, but certainly not for those arriving

after the bike racks were moved or knocked over hiding the signs. 5



4
        At least one photo shows such a sign on a bike rack ripped in two.
5
        Some have become confused by the idea that a person seeing a few people engaged in ri-
oting or violence is equivalent to notice of a restriction. That is nonsense. A legal restriction is
created by an announcement seen by the public. A brawl does not create a restriction. A person
seeing something wrong is not required to leave the area nor are they placed on notice of a re-
striction. They are placed on notice that a few people are misbehaving, but not of a restriction.
Even observing an attack on police would indicate an inexplicable violence only. If a person is
attending a football game among 20,000 other people, and a brawl breaks out in the stands, this
does not signal that no one of the 20,000 attendees is allowed to be in the stadium. There is no
legal restriction created upon those who are law-abiding, peaceful, and non-violent by seeing a
few people who are violent and engaged in chaos. The peaceful attendees are entitled to assume
that the police will arrest those engaged in a brawl and the football game will resume. Thus the
idea that peaceful demonstrators were on notice of a legal restriction by seeing rioting by a few is



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IV. ARGUMENT

           A. GOVERNMENT’S COUNT II UNDER 18 U.S.C 1512(c)(2) IS
              FOUNDED ON BASELESS OPINION, SPECULATION

       If -- at the conclusion of the evidence -- a Defendant might have committed a crime, or

perhaps not, then under our legal system and constitutional Due Process, an order of acquittal is

mandatory. Once the cream is mixed into the coffee, it cannot be removed. Sending to the jury a

Count for which there has been no sufficient, competent evidence to allow jury consideration

would confuse, inflame, and incite the jury to a lawless verdict. A Court cannot unring a bell.

       The standard is that an accused is for all purposes at all times presumed innocent until

proven guilty beyond a reasonable doubt. See, e.g., Taylor v. Kentucky, 436 U.S. 478 (1978).

The Due Process Clause requires the prosecution to prove beyond a reasonable doubt every

element of the charged criminal offense. See, In re Winship, 397 U.S. 358, 364 (1970). The

burden to prove or disprove an element of the offense may not be shifted to the defendant. See

id.; see also Patterson v. New York, 432 U.S. 197, 215 (1977).

       The Government must actually prove beyond a reasonable doubt – with respect to every

element of the crime charged – that Defendant KENNETH JOSEPH OWEN THOMAS – as an

individual -- intentionally and “corruptly” but also actually obstructed the official proceeding

(Joint Session of Congress). 6



       The Government cannot offer fairy tales, fantasies, speculation, conjecture, or


utterly unsupported by any principle of law. This does not alert an observer to the existence of a
temporary restriction due to a Secret Service protectee under 18 U.S.C. 1752, certainly not notice
of the contours and precise locations of any restrictions.
6
        There is no right for the Government to allege crimes that don’t fit the facts. There are
more than enough laws, some of which will apply. Not all laws apply to any given fact pattern.
The Government is not entitled to special treatment to force-fit an inapplicable law. There is no
shortage of laws that the Government could accurately fit to the actual facts.


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imagination that maybe Defendant Thomas might have obstructed an official proceeding. 7 The

Government must prove beyond a reasonable doubt that Thomas actually did – in the real world

– truly cause the official proceeding to be obstructed on January 6, 2021. 8

       In order to cross-examine and present his case, Thomas is entitled to any and all

communications, messages, radio traffic, 9 analyses, conclusions, proposals of action, opinions,

recommendations, text messages, email messages, or the like including any threat assessment by

the U.S. Capitol Police, the Federal Bureau of Investigation, the Secret Service, Metropolitan

Police Department of the District of Columbia or other law enforcement agencies concerning any

perceived threats and security arrangements for January 6, 2021.

       These will mostly be created in or held within the headquarters of the U.S. Capitol Police.

       Specifically, Thomas is entitled to records showing when the USCP and other agencies

started to decide that there was a threat possibly requiring the Joint Session of Congress to be

recessed, the role that the search for more pipe bombs played, when exactly the USCP decided

that the Joint Session of Congress should recess, and from what threat exactly.

       The earliest time at which there was any thought of recessing the Congress and

evacuating the Capitol is the relevant time. That was the time when a cause first existed.

       Thus, the order to lock down the Capitol at 1:00 PM from Inspector Loyd would be the




7
       It should be noted that the DoJ has chosen to depart from normal prosecutorial practices.
Normally, prosecutors would pursue the ring-leaders and/or those clearly guilty of the most egre-
gious crimes, and not pursue everyone. The Government’s choice and desire to break from past
approaches and prosecute people who may barely have known why they were there is the Gov-
ernment creating its own problems. We do not bend the Constitution to accommodate avoidable
problems.
8
       Meanwhile, here, the Government has charged Eleven other Counts against Thomas.
9
       Meaning radio traffic to and from headquarters relevant to the gathering threat
assessment and decisions to recess the Congress and evacuate the Capitol. Random discussions
among officers in the field are not the focus. The official decision to recess and evacuate is.


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time at which a cause existed obstructing the official proceeding, even if repeated at 2:00 PM by

then Deputy Chief Pittman.

       Thereby, that threat analysis and decision to recess the Joint Session will show that

Thomas played no role in any aspect of obstructing the official proceeding. 10 So the records and

documents are exculpatory which the Government is required to disclose under Brady v.

Maryland. It is a metaphysical impossibility for an effect to occur hours before its cause. Only

in science fiction or maybe a particle accelerator generating tachyons can a cause at 3:09 PM

produce an effect at 2:13 PM, 2:00 PM, or 1:00 PM.

       The impossibility of Thomas being guilty of 18 U.S.C. 1512(c)(2) is exculpatory.

       Thus, the documents demanded will bring Count II to a screeching halt.

       Details about the timing and development over time of the USCP’s decisions on January

6, 2021, are exculpatory.

       The Government has no evidence nor any prosecution theory of the case as to how at

3:09 PM KENNETH JOSEPH OWEN THOMAS actually obstructed the official proceeding

(Joint Session of Congress) in violation of 18 U.S.C. 1512(c)(2) at 1:00 PM when the Capitol

was ordered into “lockdown.”

       The actual documents and records are exculpatory because they will present undeniable,

persuasive, credible, official, and undeniable evidence – not merely argument of counsel.

       Conclusory opinions are not at all what is required or demanded.

       The Government’s entire case concerning the most serious charge of Count Two, 18

U.S.C. § 1512(c)(2) depends upon speculation, conjecture and imagination. The prosecution

offers only maybes: “Well, it could have happened.”



10
       It appears that other people did. Many did not.


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       Thomas, as an individual, must have caused the Joint Session of Congress to be recessed.

       There are no “maybes” in criminal prosecutions. No “maybe” can satisfy the standard of

“guilty beyond a reasonable doubt.” “Close enough” does not work in criminal prosecutions.

This is not a game of horsehoes. See, United States v. Joshua Matthew Black, Criminal Case

No. 1:21-cr-127, The Honorable District Court Judge Amy Berman Jackson deciding bench trial

(Government failed to prove that Defendant obstructed an official proceeding).

       Just as there are no “maybes” in criminal law, there is no “they” either. Only the

Defendant at bar may be considered. What “they” did must be stricken from the courtroom.

Only what “he” did counts. The prosecution consistently and persistently in every trial talks

about what other people did having nothing to do with the Defendant(s) in the case at hand. This

prosecution is against Kenneth Thomas, not against a crowd.

       This is United States v. Kenneth Joseph Owen Thomas – only. The case which the DoJ

chose to bring is not United States vs. an Unknown Crowd of 10,000 Random People.

       The Government offers only speculation and imagination that Thomas’s presence among

other people may have obstructed the official proceeding as a group.

       Even if there are no records or documents showing why the USCP recessed the Joint

Session or evacuated the Capitol, the lack of any records to support baseless charges against

Thomas would be exculpatory.

           B. GOVERNMENT’S COUNT II OF DELAY OF RESUMPTION OF
              JOINT SESSION UNDER 18 U.S.C 1512(c)(2) IS FOUNDED ON
              OPINION, SPECULATION

       Meanwhile, pressed with this gap in its case with regard to Count II, the Government has

shifted gears to arguing that even if the guilt of most people cannot be proven in causing the

Joint Session to recess, nevertheless they can be prosecuted for delaying the resumption of the

Joint Session.


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       This is problematic because the DoJ is already stretching 18 U.S.C. 1512(c)(2)

unacceptably to a scenario to which it has never been applied. Now, the delay of resumption

theory would stretch the 11

       However, this, too, is only groundless speculation and of a far more extensive exercise of

conjecture. The Government has absolutely no evidence that the resumption of Joint Session of

Congress at 8:09 PM later that day took even 1 second longer because of Thomas than if Thomas

had metaphysically never existed, as in the classic movie “It’s a Wonderful Life.”

       Indeed, the discovery of pipe bombs alone would have required a complete security

sweep of the building even if no demonstrators or rioters had entered the building. The pipe

bomber might have.

       The Government proving that Defendant Thomas elongated the process of inspecting the

entire building for safety would require an expert opinion. There are no expert witnesses who

have been qualified to show that Defendant Thomas – as an individual – delayed the resumption

of the Joint Session. How long should it take? That would require an opinion from an expert.

Did it take longer to resume the official proceeding because Thomas was alive standing near the

U.S. Capitol on January 6, 2021? That would be an opinion requiring an expert.

       How long would the security sweep of the Capitol building have taken if Thomas had




11
        Note that while the Constitution, XIIth Amendment, and the Electoral Count Act 3
U.S.C. 1 through 21, require the Congress to convene at 1:00 PM every 4 years on January 6, it
is normal practice of Congress to recess, sometimes even pretending to be in the same “legisla-
tive day” for days or weeks. It is not just a speculative possibility but a common occurrence for
Congress to convene, recess, reconvene, maybe over and over. Thus, it would have been more
normal for Congress to all go home on January 6, 2021, having already convened at the required
1:00 PM time, and come back the next day on January 7, 2021. There was no requirement nor
no normality to resume later the same day. This strains the application of 18 U.S.C. 1512(c)(2)
even further. How do you “obstruct” something that already convened and would normally not
be completed in a single day by proven, established, frequent Congressional norms?


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never been born, as in Jimmy Stewart’s character in the movie “It’s a Wonderful Life?”

       Note that this is a counter-factual hypothetical.

       What difference in time required to conduct a security inspection of the Capitol building

would there have been Thomas being outside the Capitol building vs. never being born?

       These questions would require expert opinions. Not distinguished officials. Experts.

       But for the purposes of this motion, it is exculpatory information that the Government

was required to produce under Brady what exactly the USCP would have to do, even if assisted

by other agencies, to look in every room of the U.S. Capitol.

       What steps were required before resuming the Joint Session?

       What additional steps were required before resuming the Joint Session because Kenneth

Thomas was near the Capitol building, or whatever the prosecution intends to try to prove?

       How did Kenneth Thomas make the process longer?

       What steps would be required due to Thomas as an individual being outside the building

as contrasted with the counter-factual hypothetical of Thomas having gone hiking in the hills?

       Note: By no means does this require unredacted training material revealing any

confidential techniques. The hubris of the U.S. Capitol Police claiming well-known, non-

confidential, routine, run-of-the-mill information about standard police practices is unwarranted.

But in the unlikely event that there is anything in those documents and records not already

widely known to the public, those can certainly be redacted. As we saw with the break-down of

the Federal Administration’s NOTAM system, government systems are often not the latest.

       The issues include: How many rooms or spaces would the USCP and other agencies

under the USCP’s statutory authority have to check? How did Thomas change the number of

rooms or spaces to be checked? Actually we do not need to know if it is considered confidential




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the absolute number. We only need to know how many extra rooms or spaces had to be

searched because of Thomas being at the Capitol?

       If Thomas had never been born, the number of steps that the USCP would be required to

undertake would be exactly the same. The length of time required would always be the same.

       For example, anyone who watches TV or movies would readily understand that the

USCP and agencies assisting them would call in bomb-sniffing dogs. The police dogs would be

handled by experts in deploying those dogs and probably well known to those dogs. So the

amount of time needed to screen the U.S. Capitol would require the same amount of time

whether Thomas had ever been there or not. The time would be dictated by the size of the

building and the ability of the dogs to walk and sniff – not by Thomas’s presence.

       Furthermore, the USCP’s documents and records on this topic would show that Thomas

was not the last person to leave the area. Therefore, Thomas could not be responsible for

causing any delay in the resumption of the Joint Session of Congress.

       The DoJ engages in attorneys testifying unsworn that the security sweep could not start

until all of the unauthorized persons had left. But hundreds of people remained after Thomas

left. So clearly Thomas played no role in delaying the resumption of the Joint Session.

       Thomas is entitled to these records and documents as exculpatory information.

       The records and documents would have to tell us when the security sweep started because

Defendants’ counsel believes that it started long after Thomas had already left the Capitol area.

They would show that the vast majority of people were still there long after Thomas had left.

       Finally, the documents and records in making a threat assessment would likely discuss

the fact that Congress is perfectly capable of operating in session with hundreds of visitors in the

building. There are hundreds of visitors in the U.S. Capitol every business day and yet Congress




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still holds hearings and sessions in the Chambers.

       Those familiar with Congress, such as former interns, point out to counsel that the USCP

would be evaluating in written threat assessments a comparison between a normal day in the

U.S. Capitol where it is common to have unofficial visitors in the building, yet Congressional

business occurs without interruption, against some rough number of “too many” people not

affiliated with Congressional staff filling up the building. The documents likely refer explicitly

to the fact that Congressional business is not interrupted by the mere presence of visitors.

       The Defendant is entitled to the actual records and documents – not speculation.

           C. DISCLOSURE OF LOCATIONS OF BARRICADES AND
              “RESTRICTED AREA” SIGNS AT EXACT TIME OF
              THOMAS’S ARRIVAL

       The Government claims that certain areas around the U.S. Capitol were legally restricted

on January 6, 2021, pursuant to 18 U.S.C. 1752. But that is a mixed question of law and fact.

       The U.S. Capitol Police (Governing Board) has chosen by its own decision not to post

any permanent signs or notices on the Capitol grounds warning that sometimes the public park of

the grounds might be closed. Instead, the Board directed that small, flimsy signs (some seen in

photographs torn in two as being merely paper) be affixed to light-weight, movable bike racks,

appearing at a very low height at about waist-high-level in most places. 12

       To have a “Restricted Area” (grounds or building) there must be an “area” to which the

restriction applies. An unidentified, indeterminate area cannot be a restricted area. For a person

to knowingly enter a restricted area without authorization, there must be both an identifiable area



12
        Most people are conditioned to understand that bike racks either route foot traffic or
control when people may enter, but do not prohibit pedestrian entrance, merely showing where
to go, and/or telling pedestrians when the doors to an event open. Bike racks do not signal by
themselves to the average person any prohibition of entrance, but rather to signal only timing and
the preferred pathway for walking. Bike racks typically signal “This is where you walk.”


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that is restricted and knowledge by the person of a restriction. One must be able to know

(knowingly) if they are on this side of the line or that side of the line. If one cannot know if they

are on the unrestricted side of the line or on the restricted side of the line, they cannot knowingly

enter a restricted area.

        Therefore, under Brady, the Government here must provide any and all photographs,

video recordings, witnesses, discussions in police radio recordings, etc., of exactly where any

signs were visible to the crowds at the time that Defendant Thomas arrived at the vicinity of

the U.S. Capitol building. Defendant is entitled to exculpatory evidence as to where signs were

at that time – not at some other time earlier in the day.

        The Government must identify exactly when and where the Government contends

Thomas approached the U.S. Capitol Grounds and the position of any “Restricted Area” signs in

that location at that time. It must identify any and all Government personnel who are witnesses

of any “Restricted Area” signs being moved or obscured before any of the Oath Keeper

Defendant arrived at the U.S. Capitol.

        The Court and the prosecutors may be allergic to what they perceive as conspiracy

theories, but Thomas, by counsel, focuses here strictly on the location of potential witnesses.

        Videos taken by various persons, including what some are calling “civilian video” taken

by random attendees or bystanders, were collected and posted at “Meet Ray Epps, Part 2:

Damning New Details Emerge Exposing Massive Web Of Unindicted Operators At The Heart

Of January 6,” Revolver News, December 21, 2021, accessible at:

https://www.revolver.news/2021/12/damning-new-details-massive-web-unindicted-

operators-january-6/

        It must be emphasized that this is a collection of videos by others. They cannot be




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dismissed on the grounds of where they were collected and posted in one place. These are not

Revolver News’ or Darren Beattie’s videos. They are the videos of eyewitnesses at the Capitol

on January 6, 2021. These are collected and posted there. They are not Revolver’s videos.

       The point here is that the persons shown removing signs, removing barricades, and

rolling up wire mesh fences on which notice signs were affixed are potential witnesses.

       Defendant Thomas is accused of knowingly entering a restricted area without

authorization. Those shown in videos removing barricades, moving bike racks, and rolling up

wire mesh fencing – and thereby removing all signs providing notice of a restriction – are

potential witnesses that may exonerate Defendant Thomas. If the signs were removed before

Thomas arrived, then the knowingly element of the charged crime cannot be established.

       Therefore, Defendant Thomas is entitled to and hereby demands any and all information

of the identification of these persons for the purpose of calling them as witnesses.


           D. DISCLOSURE OF ALL INFORMATION COLLECTED BY
              THE U.S. HOUSE OF REPRESENTATIVES SELECT
              COMMITTEE TO INVESTIGATE THE JANUARY 6
              ATTACK ON THE U.S. CAPITOL, INCLUDING RAY EPPS

       The Select Committee has publicly released a great deal of information that they have

gathered about the events on or leading up to January 6, 2021. The outgoing Chair of the Select

Committee Rep. Benny Thompson has publicly announced that the Select Committee would

publicly release all of the information gathered. However, the Select Committee withheld a great

deal of information. For the purposes of due process and a fair trial, the Select Committee must

provide this information to the defense counsel. Brady is not an “if you feel like it” suggestion.

       Therefore, the Government must obtain and produce January 6th Select Committee

investigation depositions, closed hearing transcripts, informal interviews, and interview notes for




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anyone the committee stated it has taken testimony from under oath or likewise interviewed.

       This is especially important where there are witnesses who testified before the Select

Committee, were then indicted, and are now legally unavailable to testify for the Defendant

because they are now facing prosecution.

       This includes all the Ray Epps material from the January 6 Select Committee the FBI and

other federal investigative agencies.

       The Government responds that the Executive Branch does not have these in its

possession. The precedents on Brady make clear this is irrelevant. Whether the prosecutor has

knowledge of items held by different agencies is the question. Once the prosecution has actual,

clear knowledge of the existence of potentially exculpatory information, Brady mandates --

subject to the penalty of the dismissal of all charges (ALL charges not just those affected

directly) – that the prosecution obtain and disclose (possibly subject to the protective order)

information to the defendant’s counsel.

       Recall that the U.S. Capitol Police is an agency of the U.S. Congress. Both the

Legislative Branch U.S. Capitol Police and the House Select Committee are intimately involved

in the investigation and prosecution of the alleged crimes relating to January 6. Therefore, there

is no excuse under Brady jurisprudence for the U.S. Attorney’s Office to obtain information from

the U.S. Capitol Police but not from the Select Committee.


           E. RAY EPPS AND HIS BREACH TEAM

       As is by know exhaustively documented and well-understood, there is only one person

who is caught on many, many video recordings and by many live witnesses organizing and

recruiting people to “GO INTO THE CAPITOL” even if it means being arrested. So outlandish

were these efforts that many Trump supporters shouted him down as a provocateur shouting



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“FED! FED! FED! FED!” warning people not to listen to Ray Epps.

       What would all of the documents in the possession of the U.S. Government in any

location, including the DoJ, FBI, CIA, USCP, etc. show?

       We don’t know.

       We do know that the Defendant has a right to find out what those documents show.

       Again: Guessing is out of order.

       This is not a guessing contest.

       This is a demand ordered by the Constitution and the U.S. Supreme Court that: “Take a

look at all the documents and see in the real world, what they actually say.”

       Defendant Thomas is charged with Obstruction of an Official Proceeding in Count II in

violation of 18 U.S.C. 1512(c)(2). Unusual among most criminal statutes, Count II requires not

only a general requirement of intent (such as not an involuntary action, being pushed, or an

unknowing action) but a specific requirement of the intent to obstruct an official proceeding

“corruptly.”

       Furthermore, the DoJ is engaged in a unique set of principles that apply only in the

January 6 context dubbed “January 6 Jurisprudence” that bear no resemblance to traditional

criminal law. The Government urges that anyone who was merely breathing near the Capitol

obstructed the official proceeding. Under such a view, why the crowd of 10,000 assembled

within eyesight of the Capitol and a few hundred went inside and damaged property and brawled

with police is relevant.

       The Court must note that – obviously -- documents about Ray Epps would be likely to

lead to witnesses and people other than Epps alone. The Court may not stingily consider only

what one man might have caused, but whom else he may be connected to as a larger group.




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       The only person in the universe whom we know to be guilty of 18 U.S.C 1512(c)(2) is

Ray Epps, who is seen everywhere around D.C. rushing from one place to another, from an

Olley’s hot dog restaurant in Arlington, Virginia standing up and giving an impromptu speech to

the restaurant urging people to go into the Capitol, to Black Lives Matter Plaza, to the Capitol

non-stop inciting people to “go into the Capitol.” We also know that Ray Epps is seen on video

inciting and recruiting others to attack and converge on the Capitol. At the Ellipse Rally, Ray

Epps is videotaped telling everyone as if it is part of the official plan and he is speaking for

Trump and the Ellipse rally organizers that when Trump stops speaking we are all going over to

the Capitol to go inside the Capitol where the matter is actually being decided. Epps speaks as if

this had been officially prearranged, not his own idea.

       Demonstrating that this is no accident or mistake, Ray Epps announces – recorded on

video – that he expects to get arrested for saying this, at which point people yell “THEN DON’T

SAY IT!” and the crowd of Trump supporters begins to shout him down and protest what Epps is

saying. Under no possible scenario can Ray Epps have been acting accidentally.

       He manifests his understanding that what he is urging the crowd to do may lead to their

arrest. Ray Epps is on video de-sensitizing the crowd to feel that it would be noble, patriotic,

and okay to risk getting arrested. He is conditioning the crowd to commit a crime, and

imminently so.

       Ray Epps is the only person whose words and actions meet the test for incitement under

Brandenburg v. Ohio, 395 U.S. 444 (1969), and progeny.

       So extreme are these contrasts that there is clearly something hidden to explain why the

DoJ is prosecuting those who are innocent while not prosecuting those who are so clearly guilty.

The DoJ is prosecuting those who did not engage in such incitement as if they are all “leaders”




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while studiously protecting the one person we know (so far) to be an actual ring leader. And

again, the point is not to single out Epps, but to find witnesses and others who may appear in the

documents, records, and information.

       Thus, to defend against the element of the crime charged in Count II that Thomas acted

“corruptly” (in the absence of any claim that he did) Thomas is entitled to all documents,

records, and information as to Ray Epps inciting people to go into the Capitol on January 6,

2021, including any information about why and if Epps was working with anyone.

       Note that Ray Epps being organized, incited, funded, or directed could be of any nature,

it could be from a private organization, it could be from a government agency of the U.S.

Government, it could be from a foreign government. The issue here is not to guess or pre-judge.

The issue is Thomas has a right to see the documents.

       People have questions. But that is irrelevant. The documents will show what they show.


           F. WITNESSES THAT THOMAS AIDED AND
              ABETTED NO ONE

       The Government also violates its Brady obligations with regard to who and how Thomas

aided and abetted anyone, and for what purpose. Knowing whom Thomas allegedly aided and

abetted would very likely present or lead to exculpatory evidence. Again, one of the primary

applications of Brady is the identification and locating of witnesses who will testify for the

Defendant. If the Government tries to prove at trial that Thomas aided and abetted a “John

Doe,” but that same “John Doe” is called to the witness stand and answers “No, I had nothing to

do with that guy, what I did I did on my own, he didn’t aid and abet me in any way, I didn’t even

notice he was there,” that testimony would clearly be exculpatory.




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       The DOJ's own guidance states 13 (emphases added):

       The first provision one finds in Title 18 of the United States Code regards
       accessories to crime. Title 18, United States Code § 2 now provides:

       (a) Whoever commits an offense against the United States or aids, abets, counsels,
       commands, induces or procures its commission, is punishable as a principal.

       (b) Whoever willfully causes an act to be done which if directly performed by him or
       another would be an offense against the United States, is punishable as a principal.

       Aider and abettor liability is distinct from accessory after the fact under 18 U.S.C.
       § 3. United States v. James, 998 F.2d 74, 80 (2d Cir.), cert. denied, 510 U.S. 958, 114
       S.Ct. 415, 126 L.Ed.2d 362 (1993). An aider and abettor, unlike an accessory after the
       fact, is punishable as a principal. Id.

       To argue or prosecute aiding and abetting, the Government must prove that a Defendant

(a) willfully (b) causes an act to be done. This requires proof of an identifiable act by

identified persons (by name or description) affected by the causation of the Defendant in an

identified way. Otherwise, willfulness and causing cannot be shown.

       There cannot be aiding and abetting “in the wind” or “in the air” hovering over the

situation. An accused aids and abets only when by willful acts he causes a crime to be done by

another person. That requires that the specific acts of the aider and abetting must be specifically

identified and proven. Otherwise, how can the Court determine if actions were taken willfully?

How can the Court determine if the accused’s actions caused another person to commit a crime?

       Therefore the person alleged to have been aided and abetted would be an obvious and

important witness to defeat the allegation. Perhaps the Government seeks to avoid specificity

because anyone allegedly aided and abetted would be a witness. But Brady requires information

that would lead to witnesses that a Defendant might choose to call in his defense.




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       See DOJ from October 1998 https://www.justice.gov/archives/jm/criminal-resource-man-
ual-2471-18-usc-2


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           G. TYPE OF GAS USED NORMALLY BY USCP AND MPD,
              AND TYPE USED ON JANUARY 6, 2021

       There are videos of a police officer cannon mis-firing, causing gas canisters to fall short,

landing about only 2 feet from the firing cannon, effectively resulting in the law enforcement

officers gassing themselves. However, despite this being caught on video, the Government will

not acknowledge this and instead uniformly blames the demonstrators and rioters for gassing

officers. Even though the situation apparently being alleged against Thomas is slightly different,

knowing what kind of gas (generally speaking) is in the inventory of the USCP and MPD and

knowing whether a different kind of gas or chemical spray was encountered by law enforcement

officers would help Defendant Thomas identify whom may have been responsible. That is, if

officers were subjected to gas or spray that they do not use and do not have in their inventory,

this would indicate that the gas was brought by demonstrators, and the allegation of stealing

government property may be unsupported. If the gas in question is in the inventory of the

officers, then it may support the idea that Thomas stole gas and used it. Therefore, even if the

precise specifications are kept confidential as to the public, Thomas requires this information.

       Furthermore, depending on the gas used by the USCP and MPD, it is nearly certain from

the investigation so far that over-use of such gas triggers an extreme “aggressor response” that

would explain both the excessive violence by police and by demonstrators alike. When over-

applied, as happened on January 6, the gas causes a psychochemical physical effect, that is an

involuntary trigger of aggression.


           H. TRAINING MATERIALS ON USE OF CROWD-CONTROL
              GAS USED BY USCP OR MPD, ON JANUARY 6, 2021




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       While again, these materials may be protected from public release, Defendant Thomas

expects that these training materials will emphasize that the various types of crowd-control gas

can (and often does) trigger a pharmacological reaction of an extreme aggressor response and

rage, particularly if over-used in excessive quantities and/or enclosed spaces. On one body worn

camera video, a police officer is heard in the West Terrace “tunnel” yelling that the officers

“cannot” use the gas “in here” (the tunnel) because it is an enclosed space and that “it will kill

people.” Specifically, the officer heard on the video is referring to the fact that some of these

gases chemically binds or sucks up oxygen and people may suffocate because of the excessive

doses of the gas in locations where the atmosphere is not freely circulating to replenish oxygen.

Thomas expects that the training materials will warn when the use of the gases is prohibited

and/or dangerous, and when the over-use of gas can trigger a rage response by both police

officers and others in the vicinity.


           I. INFORMATION ON USE OF CROWD-CONTROL GAS
              USED BY USCP OR MPD ON JANUARY 6, 2021 FROM
              MANUFACTURER

       Similarly, Thomas expects that any records or information from the manufacturer of

crowd-control gases will warn of when over-use is prohibited, when it is dangerous, and the

pharmacological response that can occur not unlike psychedelic drugs from over-use of the

gases. For example, one Defendant Dan Egvydt, known personally to another attorney to be an

exceptionally mild-mannered and quiet, soft-spoken, kindly, polite, well-mannered and

gentlemanly man, is observed behaving like an enraged wild man inside the U.S. Capitol

building on January 6, 2021, after being video taped by security cameras wiping his eyes and

face against a strangers shoulder with inflamed eyes and tears in his eyes. The Capitol security

video recordings capture and display a “Green Hulk” like transformation from wiping his eyes



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flooded with gas to suddenly running around in a rage and rushing at police like a wild man.


           J. INFORMATION ON THE FORMATION AND BEHAVIOR
              OF THE (SEVERAL) CROWDS

       The Government argues that there was “a sophisticated, organized attack on the Capitol

[that] began just before 1 PM.” That is, the most controversial topic yet it is one where both

sides completely agree.

       However, the two sides sharply disagree on who is responsible. This Defendant will

insist that he had nothing to do with any of that. So it is quite striking that the Government in

these cases is arguing both sides of the same coin without seeming to realize that it is doing so.

Unmistakably, it is the core thesis of the Government that that there was “a sophisticated,

organized attack on the Capitol [that] began just before 1 PM.”

       The Defendant agrees, but ascribes this to ANTIFA activists or even – after seeing the

head-scratching treatment of Ray Epps – the possible involvement of 3 letter agencies.

       SUNLIGHT IS THE BEST DISINFECTANT. Disclosure settles controversies. Secrecy

breeds suspicion and mistrust.

       It should also be noted that the U.S. Attorney’s Office has in fact consistently addressed

the same topics from the Government’s perspective. The Government’s almost entire case majors

on the initiation and development of crowds of protestors (not crowd but different crowds in

divergent places of divergent make-up and divergent conduct), some of whom deteriorated into

riots or brawling, over 90% of whom did not. The Government’s case consists almost entirely of

simply the mirror image, flip side of the Defendant’s questions about what happened. The

Government has in every trial arising from January 6, 2021, and necessarily will here, present the




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prosecutor’s view of how around 1000 to 1500 of the approximately 10,000 people 14

demonstrating peacefully in the vicinity of the Capitol broke away from the main group and

descended into violence, a very few assaulting police, many wandering around inside the Capitol

as tourists, some of them however trying to break through the doors of the House and Senate

chambers, some allegedly spraying bear spray and the like, and everything in between.

       The Government’s case will consist largely of its view of how the crowd developed,

gathered, organized itself, and acted, while seeking to block any alternative view of those same

topics. Almost the entire trial will consist of the prosecution’s view of the same topics that it seeks

to exclude here.

       Because the accusation of who organized and developed the crowds and why is directly

contrary to the Defendant’s contention or understanding, the actual truth is potentially exculpatory.

       The Defendant is entitled to the identity of potential witnesses whom he has requested

information about as mandatory disclosure of exculpatory information. The Defendant is entitled

to all information on the formation and flow and activities of the crowd, including who were the

leaders and provocateurs.


           A. FAILURE TO USE ANY FORM OF AMPLIFIED PUBLIC
              ADDRESS SYSTEM TO NOTIFY CROWDS TO LEAVEE

       Video recordings indicate that the U.S. Capitol Police used a massive, incredibly-loud

public address system only after dusk telling people to leave the Capitol Grounds, when the sky

was completely dark as shown in the body-cam and other recordings. This is not about a small



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       In a statement by Acting Chief of the U.S. Capitol Police, found at https://twit-
ter.com/MikevWUSA/status/1354104955553067010/photo/1, Yogananda D. Pittman docu-
ments during a topic otherwise not relevant to this motion nor adopted by the Accused that the
U.S. Capitol Police estimated that “tens of thousands” of demonstrators were at the U.S. Capitol.
Elsewhere Pittman estimates the crowd at 10,000.


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or hand-held loud speaker, but a building-wide public address systems at issue.

        However, it appears that the U.S. Capitol Police and other authorities never used any

amplified sound at any earlier time throughout January 6, 2021, to tell anyone to leave the

Capitol building or Capitol grounds.

        Of course, the laws of trespassing and parallel federal versions including 18 U.S.C. 1752

require advance notice or a request for a person to leave before the person can be prosecuted for

trespass. Similarly, 18 U.S.C. 1752 depends upon proof that a person “knowingly” enters a

restricted area.

        Therefore, it is exculpatory information that the U.S. Capitol Police had the technical

capability – which they waited until the sky was dark after dusk to deploy – to notify crowds to

depart, but chose not to use any means of notifying the crowds that they needed to leave.

        Therefore, Thomas is entitled to documents and records of the logs of when any building-

wide public address system was used to notify crowds that they were being asked to leave.


V. CONCLUSION

        The Court should order production of the requested documents and records. The Court

should order the case dismissed if the Government does not comply.

Dated: February 23, 2023
                                                          Respectfully Submitted,

                                                           /s/ John M. Pierce
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                               CERTIFICATE OF SERVICE

        I hereby certify that on February 23, 2023, a true and accurate copy of the forgoing was
electronically filed and served through the ECF system of the U.S. District Court for the District
of Columbia.
                        /s/ John M. Pierce
                        John M. Pierce




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